39 F.3d 1175
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Alphonso Lee BACKUS, Petitioner Appellant,v.Edward W. MURRAY, Director, Respondent Appellee.
    No. 94-6570.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 18, 1994.Decided Nov. 14, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, Magistrate Judge.  (CA-93-508-R).
      Alphonso Lee Backus, Appellant Pro Se.  Thomas Drummond Bagwell, Assistant Attorney General, Richmond, Virginia, for Appellee.
      E.D.Va.
      DISMISSED.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the magistrate judge's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.*  Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate judge.  Backus v. Murray, No. CA-93-508-R (E.D. Va.  Apr. 18, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         The case was decided by a magistrate judge exercising jurisdiction upon consent of the parties under 28 U.S.C.A. Sec. 636(c)(1) (West 1993)
      
    
    